 4:11-cr-03110-RGK-CRZ              Doc # 29    Filed: 11/23/11      Page 1 of 1 - Page ID # 47




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                       Plaintiff,               )                     4:11CR3110
                                                )
               v.                               )
                                                )
KENNETH A. JONES,                               )          MEMORANDUM AND ORDER
                                                )
                       Defendants.              )
                                                )


       Regarding defendant Jones’ motion to release pretrial services report, (filing no. 27), and his
motion for release pending possible placement at Western Alternative Corrections, Hastings,
Nebraska, (filing no. 28),

       IT IS ORDERED:

       1)      The Pretrial Services Office shall forward defendant’s pretrial services information
               and shall initiate the screening process for defendant Jones’ possible placement at
               Western Alternative Corrections in Hastings, Nebraska.

       2)      Defendant Jones’ motion for release, (filing no. 28), is denied with respect to his
               request to live with Vicki Shrepf, in Lincoln, Nebraska pending an admission
               decision and a vacancy for placement at Western Alternative Corrections in Hastings,
               Nebraska is denied.

       DATED this 23rd day of November, 2011.

                                               BY THE COURT:

                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
